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                      EXHIBIT 3




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   O’Melveny & Myers LLP                 T: +1 212 326 2000                                                         File Number:
   Times Square Tower                    F: +1 212 326 2061                                                         35586-21
   7 Times Square                        omm.com
   New York, NY 10036-6537




                                                                                                                    Jeffrey A. N. Kopczynski
   May 16, 2022                                                                                                     D: +1 212 728 5675
                                                                                                                    jkopczynski@omm.com
   VIA EMAIL
   HIGHLY CONFIDENTIAL

    Farhad Mirzadeh
    Hausfeld LLP
    888 16th Street, N.W.
    Suite 300
    Washington, DC 20006
    fmirzadeh@hausfeld.com

   Re:      In re National Football League’s Sunday Ticket Antitrust Litigation,
            Case No. 2:15-ml-02668-PSG (JEMx) (C.D. Cal.)

   Dear Farhad,

          We write on behalf of DIRECTV, LLC and DIRECTV Holdings, LLC (collectively,
   “DIRECTV”) in further response to Plaintiffs’ March 22, 2022 letter challenging our privilege
   claims over documents listed on our February 18, 2022 privilege log.

           As we agreed to do in our April 8, 2022 letter, attached is an updated privilege log. We
   have corrected some of the scrivener-type mistakes Plaintiffs identified in our privilege log. We
   have also reevaluated our privilege claims over the documents identified in Plaintiffs’ letter.
   Through that process we have determined the following documents are not privileged, which
   we will produce under separate cover:

    DIRECTV-PRIV-0000012                 DIRECTV-PRIV-0001312                 DIRECTV-PRIV-0011615                 DIRECTV-PRIV-0019032
    DIRECTV-PRIV-0000013                 DIRECTV-PRIV-0001313                 DIRECTV-PRIV-0011616                 DIRECTV-PRIV-0019033
    DIRECTV-PRIV-0000014                 DIRECTV-PRIV-0001314                 DIRECTV-PRIV-0011621                 DIRECTV-PRIV-0019034
    DIRECTV-PRIV-0000015                 DIRECTV-PRIV-0001315                 DIRECTV-PRIV-0011622                 DIRECTV-PRIV-0019035
    DIRECTV-PRIV-0000016                 DIRECTV-PRIV-0001400                 DIRECTV-PRIV-0011626                 DIRECTV-PRIV-0019050
    DIRECTV-PRIV-0000017                 DIRECTV-PRIV-0001509                 DIRECTV-PRIV-0011627                 DIRECTV-PRIV-0019051
    DIRECTV-PRIV-0000025                 DIRECTV-PRIV-0001513                 DIRECTV-PRIV-0011628                 DIRECTV-PRIV-0019379
    DIRECTV-PRIV-0000034                 DIRECTV-PRIV-0001999                 DIRECTV-PRIV-0011630                 DIRECTV-PRIV-0019535
    DIRECTV-PRIV-0000035                 DIRECTV-PRIV-0002002                 DIRECTV-PRIV-0011631                 DIRECTV-PRIV-0019536
    DIRECTV-PRIV-0000036                 DIRECTV-PRIV-0002003                 DIRECTV-PRIV-0011729                 DIRECTV-PRIV-0019690
    DIRECTV-PRIV-0000037                 DIRECTV-PRIV-0002275                 DIRECTV-PRIV-0011823                 DIRECTV-PRIV-0019759
    DIRECTV-PRIV-0000038                 DIRECTV-PRIV-0002277                 DIRECTV-PRIV-0011824                 DIRECTV-PRIV-0019914
    DIRECTV-PRIV-0000039                 DIRECTV-PRIV-0002286                 DIRECTV-PRIV-0011825                 DIRECTV-PRIV-0019915
    DIRECTV-PRIV-0000040                 DIRECTV-PRIV-0002287                 DIRECTV-PRIV-0011826                 DIRECTV-PRIV-0020038



            Austin • Century City • Dallas • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                                 Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo

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    DIRECTV-PRIV-0000041   DIRECTV-PRIV-0002394   DIRECTV-PRIV-0011827   DIRECTV-PRIV-0020040
    DIRECTV-PRIV-0000042   DIRECTV-PRIV-0002510   DIRECTV-PRIV-0011828   DIRECTV-PRIV-0020041
    DIRECTV-PRIV-0000043   DIRECTV-PRIV-0002511   DIRECTV-PRIV-0011835   DIRECTV-PRIV-0020043
    DIRECTV-PRIV-0000044   DIRECTV-PRIV-0002749   DIRECTV-PRIV-0011836   DIRECTV-PRIV-0020222
    DIRECTV-PRIV-0000045   DIRECTV-PRIV-0002818   DIRECTV-PRIV-0011838   DIRECTV-PRIV-0020223
    DIRECTV-PRIV-0000046   DIRECTV-PRIV-0002854   DIRECTV-PRIV-0011844   DIRECTV-PRIV-0020285
    DIRECTV-PRIV-0000047   DIRECTV-PRIV-0002855   DIRECTV-PRIV-0011845   DIRECTV-PRIV-0020286
    DIRECTV-PRIV-0000049   DIRECTV-PRIV-0002856   DIRECTV-PRIV-0011846   DIRECTV-PRIV-0020287
    DIRECTV-PRIV-0000050   DIRECTV-PRIV-0002857   DIRECTV-PRIV-0011847   DIRECTV-PRIV-0020772
    DIRECTV-PRIV-0000051   DIRECTV-PRIV-0002858   DIRECTV-PRIV-0011848   DIRECTV-PRIV-0021069
    DIRECTV-PRIV-0000052   DIRECTV-PRIV-0002859   DIRECTV-PRIV-0011856   DIRECTV-PRIV-0021162
    DIRECTV-PRIV-0000053   DIRECTV-PRIV-0002920   DIRECTV-PRIV-0011865   DIRECTV-PRIV-0021173
    DIRECTV-PRIV-0000054   DIRECTV-PRIV-0002921   DIRECTV-PRIV-0011866   DIRECTV-PRIV-0021448
    DIRECTV-PRIV-0000055   DIRECTV-PRIV-0003391   DIRECTV-PRIV-0011867   DIRECTV-PRIV-0022335
    DIRECTV-PRIV-0000056   DIRECTV-PRIV-0003392   DIRECTV-PRIV-0011914   DIRECTV-PRIV-0022336
    DIRECTV-PRIV-0000057   DIRECTV-PRIV-0003393   DIRECTV-PRIV-0011922   DIRECTV-PRIV-0022338
    DIRECTV-PRIV-0000058   DIRECTV-PRIV-0003394   DIRECTV-PRIV-0012103   DIRECTV-PRIV-0022339
    DIRECTV-PRIV-0000059   DIRECTV-PRIV-0003395   DIRECTV-PRIV-0012206   DIRECTV-PRIV-0022340
    DIRECTV-PRIV-0000060   DIRECTV-PRIV-0003435   DIRECTV-PRIV-0012489   DIRECTV-PRIV-0022359
    DIRECTV-PRIV-0000061   DIRECTV-PRIV-0003436   DIRECTV-PRIV-0012529   DIRECTV-PRIV-0022413
    DIRECTV-PRIV-0000062   DIRECTV-PRIV-0003437   DIRECTV-PRIV-0012530   DIRECTV-PRIV-0022414
    DIRECTV-PRIV-0000063   DIRECTV-PRIV-0003438   DIRECTV-PRIV-0012543   DIRECTV-PRIV-0022415
    DIRECTV-PRIV-0000064   DIRECTV-PRIV-0003726   DIRECTV-PRIV-0012544   DIRECTV-PRIV-0022416
    DIRECTV-PRIV-0000065   DIRECTV-PRIV-0004165   DIRECTV-PRIV-0012644   DIRECTV-PRIV-0022417
    DIRECTV-PRIV-0000066   DIRECTV-PRIV-0004166   DIRECTV-PRIV-0012645   DIRECTV-PRIV-0022418
    DIRECTV-PRIV-0000067   DIRECTV-PRIV-0004167   DIRECTV-PRIV-0012646   DIRECTV-PRIV-0022430
    DIRECTV-PRIV-0000068   DIRECTV-PRIV-0004337   DIRECTV-PRIV-0012880   DIRECTV-PRIV-0022431
    DIRECTV-PRIV-0000069   DIRECTV-PRIV-0004421   DIRECTV-PRIV-0012886   DIRECTV-PRIV-0022432
    DIRECTV-PRIV-0000070   DIRECTV-PRIV-0004423   DIRECTV-PRIV-0012887   DIRECTV-PRIV-0022433
    DIRECTV-PRIV-0000071   DIRECTV-PRIV-0004533   DIRECTV-PRIV-0012916   DIRECTV-PRIV-0022434
    DIRECTV-PRIV-0000074   DIRECTV-PRIV-0004534   DIRECTV-PRIV-0012917   DIRECTV-PRIV-0022435
    DIRECTV-PRIV-0000075   DIRECTV-PRIV-0004535   DIRECTV-PRIV-0013011   DIRECTV-PRIV-0022436
    DIRECTV-PRIV-0000076   DIRECTV-PRIV-0004536   DIRECTV-PRIV-0013019   DIRECTV-PRIV-0022437
    DIRECTV-PRIV-0000077   DIRECTV-PRIV-0004806   DIRECTV-PRIV-0013169   DIRECTV-PRIV-0022896
    DIRECTV-PRIV-0000082   DIRECTV-PRIV-0004807   DIRECTV-PRIV-0013220   DIRECTV-PRIV-0023452
    DIRECTV-PRIV-0000084   DIRECTV-PRIV-0004853   DIRECTV-PRIV-0013609   DIRECTV-PRIV-0023936
    DIRECTV-PRIV-0000085   DIRECTV-PRIV-0004970   DIRECTV-PRIV-0013610   DIRECTV-PRIV-0023937
    DIRECTV-PRIV-0000086   DIRECTV-PRIV-0005023   DIRECTV-PRIV-0013640   DIRECTV-PRIV-0023938
    DIRECTV-PRIV-0000091   DIRECTV-PRIV-0005024   DIRECTV-PRIV-0013641   DIRECTV-PRIV-0023939
    DIRECTV-PRIV-0000092   DIRECTV-PRIV-0005025   DIRECTV-PRIV-0014830   DIRECTV-PRIV-0023940
    DIRECTV-PRIV-0000099   DIRECTV-PRIV-0005091   DIRECTV-PRIV-0015779   DIRECTV-PRIV-0024072
    DIRECTV-PRIV-0000108   DIRECTV-PRIV-0005092   DIRECTV-PRIV-0016158   DIRECTV-PRIV-0024073



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    DIRECTV-PRIV-0000109   DIRECTV-PRIV-0005275   DIRECTV-PRIV-0016160   DIRECTV-PRIV-0024128
    DIRECTV-PRIV-0000110   DIRECTV-PRIV-0005276   DIRECTV-PRIV-0016171   DIRECTV-PRIV-0024129
    DIRECTV-PRIV-0000114   DIRECTV-PRIV-0005363   DIRECTV-PRIV-0016172   DIRECTV-PRIV-0024531
    DIRECTV-PRIV-0000115   DIRECTV-PRIV-0005556   DIRECTV-PRIV-0016173   DIRECTV-PRIV-0024727
    DIRECTV-PRIV-0000116   DIRECTV-PRIV-0005557   DIRECTV-PRIV-0016174   DIRECTV-PRIV-0024728
    DIRECTV-PRIV-0000124   DIRECTV-PRIV-0005558   DIRECTV-PRIV-0016187   DIRECTV-PRIV-0024729
    DIRECTV-PRIV-0000125   DIRECTV-PRIV-0005651   DIRECTV-PRIV-0016215   DIRECTV-PRIV-0024769
    DIRECTV-PRIV-0000126   DIRECTV-PRIV-0005652   DIRECTV-PRIV-0016265   DIRECTV-PRIV-0024770
    DIRECTV-PRIV-0000127   DIRECTV-PRIV-0005653   DIRECTV-PRIV-0016280   DIRECTV-PRIV-0024914
    DIRECTV-PRIV-0000165   DIRECTV-PRIV-0005654   DIRECTV-PRIV-0016872   DIRECTV-PRIV-0024915
    DIRECTV-PRIV-0000166   DIRECTV-PRIV-0005655   DIRECTV-PRIV-0016873   DIRECTV-PRIV-0024916
    DIRECTV-PRIV-0000168   DIRECTV-PRIV-0005656   DIRECTV-PRIV-0017156   DIRECTV-PRIV-0024917
    DIRECTV-PRIV-0000175   DIRECTV-PRIV-0005657   DIRECTV-PRIV-0017157   DIRECTV-PRIV-0025968
    DIRECTV-PRIV-0000176   DIRECTV-PRIV-0005658   DIRECTV-PRIV-0017158   DIRECTV-PRIV-0026045
    DIRECTV-PRIV-0000177   DIRECTV-PRIV-0005659   DIRECTV-PRIV-0017159   DIRECTV-PRIV-0026070
    DIRECTV-PRIV-0000178   DIRECTV-PRIV-0005677   DIRECTV-PRIV-0017160   DIRECTV-PRIV-0026076
    DIRECTV-PRIV-0000179   DIRECTV-PRIV-0005678   DIRECTV-PRIV-0017161   DIRECTV-PRIV-0026212
    DIRECTV-PRIV-0000180   DIRECTV-PRIV-0005679   DIRECTV-PRIV-0017162   DIRECTV-PRIV-0026213
    DIRECTV-PRIV-0000181   DIRECTV-PRIV-0005680   DIRECTV-PRIV-0017208   DIRECTV-PRIV-0026440
    DIRECTV-PRIV-0000182   DIRECTV-PRIV-0005800   DIRECTV-PRIV-0017209   DIRECTV-PRIV-0026441
    DIRECTV-PRIV-0000183   DIRECTV-PRIV-0005853   DIRECTV-PRIV-0017210   DIRECTV-PRIV-0026442
    DIRECTV-PRIV-0000184   DIRECTV-PRIV-0006613   DIRECTV-PRIV-0017213   DIRECTV-PRIV-0026443
    DIRECTV-PRIV-0000185   DIRECTV-PRIV-0006614   DIRECTV-PRIV-0017214   DIRECTV-PRIV-0026444
    DIRECTV-PRIV-0000186   DIRECTV-PRIV-0006615   DIRECTV-PRIV-0018058   DIRECTV-PRIV-0026449
    DIRECTV-PRIV-0000187   DIRECTV-PRIV-0006616   DIRECTV-PRIV-0018071   DIRECTV-PRIV-0026453
    DIRECTV-PRIV-0000188   DIRECTV-PRIV-0006617   DIRECTV-PRIV-0018630   DIRECTV-PRIV-0026454
    DIRECTV-PRIV-0000189   DIRECTV-PRIV-0006618   DIRECTV-PRIV-0018631   DIRECTV-PRIV-0026455
    DIRECTV-PRIV-0000190   DIRECTV-PRIV-0006619   DIRECTV-PRIV-0018632   DIRECTV-PRIV-0026502
    DIRECTV-PRIV-0000191   DIRECTV-PRIV-0007084   DIRECTV-PRIV-0018633   DIRECTV-PRIV-0026503
    DIRECTV-PRIV-0000192   DIRECTV-PRIV-0007085   DIRECTV-PRIV-0018638   DIRECTV-PRIV-0026504
    DIRECTV-PRIV-0000196   DIRECTV-PRIV-0007611   DIRECTV-PRIV-0018639   DIRECTV-PRIV-0026505
    DIRECTV-PRIV-0000197   DIRECTV-PRIV-0007736   DIRECTV-PRIV-0018640   DIRECTV-PRIV-0026506
    DIRECTV-PRIV-0000198   DIRECTV-PRIV-0008139   DIRECTV-PRIV-0018641   DIRECTV-PRIV-0026507
    DIRECTV-PRIV-0000199   DIRECTV-PRIV-0008141   DIRECTV-PRIV-0018642   DIRECTV-PRIV-0026508
    DIRECTV-PRIV-0000200   DIRECTV-PRIV-0008142   DIRECTV-PRIV-0018702   DIRECTV-PRIV-0026509
    DIRECTV-PRIV-0000201   DIRECTV-PRIV-0008143   DIRECTV-PRIV-0018747   DIRECTV-PRIV-0026510
    DIRECTV-PRIV-0000202   DIRECTV-PRIV-0008146   DIRECTV-PRIV-0018748   DIRECTV-PRIV-0026511
    DIRECTV-PRIV-0000203   DIRECTV-PRIV-0009166   DIRECTV-PRIV-0018749   DIRECTV-PRIV-0026519
    DIRECTV-PRIV-0000204   DIRECTV-PRIV-0009167   DIRECTV-PRIV-0018856   DIRECTV-PRIV-0026520
    DIRECTV-PRIV-0000205   DIRECTV-PRIV-0009169   DIRECTV-PRIV-0018857   DIRECTV-PRIV-0026521
    DIRECTV-PRIV-0000206   DIRECTV-PRIV-0009172   DIRECTV-PRIV-0018858   DIRECTV-PRIV-0026522
    DIRECTV-PRIV-0000217   DIRECTV-PRIV-0010701   DIRECTV-PRIV-0018862   DIRECTV-PRIV-0026554



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  DIRECTV-PRIV-0000218     DIRECTV-PRIV-0010705    DIRECTV-PRIV-0018863    DIRECTV-PRIV-0026561
  DIRECTV-PRIV-0000219     DIRECTV-PRIV-0010711    DIRECTV-PRIV-0018866    DIRECTV-PRIV-0026562
  DIRECTV-PRIV-0000220     DIRECTV-PRIV-0010723    DIRECTV-PRIV-0018867    DIRECTV-PRIV-0026563
  DIRECTV-PRIV-0000221     DIRECTV-PRIV-0010724    DIRECTV-PRIV-0018904    DIRECTV-PRIV-0026564
  DIRECTV-PRIV-0000222     DIRECTV-PRIV-0010728    DIRECTV-PRIV-0018905    DIRECTV-PRIV-0026565
  DIRECTV-PRIV-0000223     DIRECTV-PRIV-0010729    DIRECTV-PRIV-0018906    DIRECTV-PRIV-0026615
  DIRECTV-PRIV-0000224     DIRECTV-PRIV-0010731    DIRECTV-PRIV-0018917    DIRECTV-PRIV-0026617
  DIRECTV-PRIV-0000225     DIRECTV-PRIV-0010781    DIRECTV-PRIV-0018982    DIRECTV-PRIV-0026618
  DIRECTV-PRIV-0000417     DIRECTV-PRIV-0010795    DIRECTV-PRIV-0018983    DIRECTV-PRIV-0026619
  DIRECTV-PRIV-0000418     DIRECTV-PRIV-0010931    DIRECTV-PRIV-0018999    DIRECTV-PRIV-0026620
  DIRECTV-PRIV-0000453     DIRECTV-PRIV-0010989    DIRECTV-PRIV-0019000    DIRECTV-PRIV-0026621
  DIRECTV-PRIV-0000565     DIRECTV-PRIV-0010990    DIRECTV-PRIV-0019001    DIRECTV-PRIV-0026837
  DIRECTV-PRIV-0000566     DIRECTV-PRIV-0011059    DIRECTV-PRIV-0019027    DIRECTV-PRIV-0027106
  DIRECTV-PRIV-0000594     DIRECTV-PRIV-0011473    DIRECTV-PRIV-0019028    DIRECTV-PRIV-0027119
  DIRECTV-PRIV-0000595     DIRECTV-PRIV-0011474    DIRECTV-PRIV-0019029    DIRECTV-PRIV-0027170
  DIRECTV-PRIV-0001289     DIRECTV-PRIV-0011533    DIRECTV-PRIV-0019030    DIRECTV-PRIV-0027171
  DIRECTV-PRIV-0001310     DIRECTV-PRIV-0011614    DIRECTV-PRIV-0019031


          DIRECTV also identified some documents inadvertently produced containing information
 protected by the attorney-client privilege and/or work product doctrine bearing the below
 Beginning Bates numbers. Pursuant to Section 11 of the October 4, 2016 Protective Order
 (ECF No. 197), please promptly return or destroy all copies of (including summaries or notes
 relating to) the below-listed documents and accompanying metadata. Please confirm when the
 Plaintiffs have complied with the Protective Order. DIRECTV has updated its privilege log to
 reflect these documents. DIRECTV will send a link under separate cover for accessing a
 production overlay containing slipsheets or redacted versions of these documents (as
 appropriate).

  DIRECTV-ST-02174729      DIRECTV-ST-01551890     DIRECTV-ST-01906887      DIRECTV-ST-02225632
  DIRECTV-ST-01245709      DIRECTV-ST-01620839     DIRECTV-ST-01906889      DIRECTV-ST-02225633
  DIRECTV-ST-01245712      DIRECTV-ST-01621358     DIRECTV-ST-01906939      DIRECTV-ST-01344816
  DIRECTV-ST-01245716      DIRECTV-ST-01621364     DIRECTV-ST-01906941      DIRECTV-ST-01344817
  DIRECTV-ST-01245719      DIRECTV-ST-02400034     DIRECTV-ST-02907780      DIRECTV-ST-02225687
  DIRECTV-ST-01245722      DIRECTV-ST-01621759     DIRECTV-ST-02907783      DIRECTV-ST-02225690
  DIRECTV-ST-01245725      DIRECTV-ST-01621768     DIRECTV-ST-02907784      DIRECTV-ST-01345545
  DIRECTV-ST-01245728      DIRECTV-ST-02400088     DIRECTV-ST-02907855      DIRECTV-ST-01345547
  DIRECTV-ST-01245730      DIRECTV-ST-02400092     DIRECTV-ST-02907857      DIRECTV-ST-02227191
  DIRECTV-ST-01245733      DIRECTV-ST-02400096     DIRECTV-ST-02907858      DIRECTV-ST-02227192
  DIRECTV-ST-01279358      DIRECTV-ST-01626817     DIRECTV-ST-01982992      DIRECTV-ST-02227210
  DIRECTV-ST-01279361      DIRECTV-ST-01626826     DIRECTV-ST-01982999      DIRECTV-ST-02232773
  DIRECTV-ST-01279365      DIRECTV-ST-01626834     DIRECTV-ST-01983977      DIRECTV-ST-02232787
  DIRECTV-ST-01279368      DIRECTV-ST-01627149     DIRECTV-ST-01984960      DIRECTV-ST-02232802



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    DIRECTV-ST-01279371   DIRECTV-ST-01627155       DIRECTV-ST-01985065   DIRECTV-ST-02232821
    DIRECTV-ST-01279374   DIRECTV-ST-01627166       DIRECTV-ST-01985073   DIRECTV-ST-02232840
    DIRECTV-ST-01279377   DIRECTV-ST-01627182       DIRECTV-ST-01985081   DIRECTV-ST-02232859
    DIRECTV-ST-01279379   DIRECTV-ST-01628676       DIRECTV-ST-01986274   DIRECTV-ST-02232881
    DIRECTV-ST-01279382   DIRECTV-ST-01628696       DIRECTV-ST-01990327   DIRECTV-ST-01356735
    DIRECTV-ST-01353575   DIRECTV-ST-01628705       DIRECTV-ST-01990329   DIRECTV-ST-01356736
    DIRECTV-ST-01417715   DIRECTV-ST-01628783       DIRECTV-ST-02026462   DIRECTV-ST-02233919
    DIRECTV-ST-01417717   DIRECTV-ST-02400792       DIRECTV-ST-02026464   DIRECTV-ST-02233947
    DIRECTV-ST-01417718   DIRECTV-ST-02400796       DIRECTV-ST-02030499   DIRECTV-ST-02233950
    DIRECTV-ST-02384131   DIRECTV-ST-02410338       DIRECTV-ST-02061420   DIRECTV-ST-02233954
    DIRECTV-ST-02385233   DIRECTV-ST-02410343       DIRECTV-ST-02061423   DIRECTV-ST-02234448
    DIRECTV-ST-02385235   DIRECTV-ST-02410347       DIRECTV-ST-02061425   DIRECTV-ST-02234452
    DIRECTV-ST-01485416   DIRECTV-ST-02410362       DIRECTV-ST-02061561   DIRECTV-ST-02234455
    DIRECTV-ST-01485419   DIRECTV-ST-02410367       DIRECTV-ST-02064446   DIRECTV-ST-02234522
    DIRECTV-ST-01485420   DIRECTV-ST-02410372       DIRECTV-ST-02124765   DIRECTV-ST-02234772
    DIRECTV-ST-01485423   DIRECTV-ST-02410377       DIRECTV-ST-02124767   DIRECTV-ST-02234832
    DIRECTV-ST-01485425   DIRECTV-ST-02410381       DIRECTV-ST-02146967   DIRECTV-ST-02324637
    DIRECTV-ST-01485428   DIRECTV-ST-01671808       DIRECTV-ST-02147831   DIRECTV-ST-01401738
    DIRECTV-ST-01485439   DIRECTV-ST-01671811       DIRECTV-ST-01213925   DIRECTV-ST-02328446
    DIRECTV-ST-01485441   DIRECTV-ST-01671815       DIRECTV-ST-01213930   DIRECTV-ST-01410375
    DIRECTV-ST-01485449   DIRECTV-ST-01671818       DIRECTV-ST-01214439   DIRECTV-ST-02328716
    DIRECTV-ST-01485450   DIRECTV-ST-01671821       DIRECTV-ST-01214443   DIRECTV-ST-02328718
    DIRECTV-ST-01485454   DIRECTV-ST-01671824       DIRECTV-ST-01215899   DIRECTV-ST-01411682
    DIRECTV-ST-01485462   DIRECTV-ST-01671827       DIRECTV-ST-01224443   DIRECTV-ST-01411684
    DIRECTV-ST-02387518   DIRECTV-ST-01671829       DIRECTV-ST-01224449   DIRECTV-ST-01442316
    DIRECTV-ST-02387520   DIRECTV-ST-01671832       DIRECTV-ST-01259552   DIRECTV-ST-01464481
    DIRECTV-ST-02387521   DIRECTV-ST-01758901       DIRECTV-ST-01259575   DIRECTV-ST-01464523
    DIRECTV-ST-02387522   DIRECTV-ST-01759004       DIRECTV-ST-01259710   DIRECTV-ST-01682626
    DIRECTV-ST-02387525   DIRECTV-ST-01759012       DIRECTV-ST-01259883   DIRECTV-ST-01682649
    DIRECTV-ST-02387526   DIRECTV-ST-01759020       DIRECTV-ST-01323491   DIRECTV-ST-01682783
    DIRECTV-ST-01205736   DIRECTV-ST-02429608       DIRECTV-ST-01338524   DIRECTV-ST-01682954
    DIRECTV-ST-01205737   DIRECTV-ST-01889765       DIRECTV-ST-01344565
    DIRECTV-ST-02225697   DIRECTV-ST-01889773       DIRECTV-ST-02225614
    DIRECTV-ST-02225701   DIRECTV-ST-01889800       DIRECTV-ST-02225616


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            Please let us know if you have any questions.


     Very truly yours,

     /s/ Jeffrey A. N. Kopczynski

     Jeffrey A. N. Kopczynski
     for O’Melveny & Myers




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